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 6                                 UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA
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 9   UNITED STATES OF AMERICA,                               )
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10                                   Plaintiff,              )           2:15-mj-00767-NJK
                                                             )
11   vs.                                                     )
                                                             )
12   JUAN ALMEDA-VASQUEZ,                                    )                 ORDER
                                                             )
13                                   Defendant.              )
                                                             )
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15           Pending before the Court is Defendant Juan Almeda Vazquez’s motion to substitute Liborius
16   I. Agwara as counsel of record in the place and stead of the Federal Public Defender’s Office.
17   Docket No. 23. Pursuant to Local Criminal Rule 44-2, with limited exceptions that do not apply
18   here, “no attorney shall be considered by the Court as an attorney of record for a defendant in a
19   criminal case until after there shall be filed with the Clerk a written designation of retained counsel,
20   signed by the defendant and the attorney.” No such designation has been filed in the instant case.
21   Therefore, Defendant Vasquez’s motion for substitution of attorney, Docket No. 23, is hereby
22   DENIED without prejudice.
23           IT IS SO ORDERED.
24           DATED: October 28, 2015.
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                                                     NANCY J. KO KOPPE
                                                                   OPPPE
28                                                   United States
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                                                                t s Magistrate
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